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                    IN THE UNITED STATES DISTRICT COURT FORrFHE                                   •   n
                             EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division

UNITED STATES OF AMERICA


               V.                                    No. l:16-cr-163


MOHAMED BAILOR JALLOH,

               Defendant.


                                      PLEA AGREEMENT


       Dana J. Boente, United States Attorney for the Eastern District of Virginia; John T.

Gibbs, Assistant United States Attorney, Brandon Van Grack, Special Assistant United States

Attorney, and Jolie F. Zimmerman, Trial Attorney, National Security Division, United States

Department of Justice, the defendant, Mohamed Bailor Jalloh, and the defendant's counsel have

entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The

terms of the agreement are as follows:

       1.      Offense and Maximum Penalties


        The defendant agrees to waive indictment and plead guilty to a single-count criminal

information charging the defendant with attempting to provide material support or resources to a

designated foreign terrorist organization in violation of Title 18, United States Code, Section

2339B. The maximum penalties for this offense are a maximum term of 20 years of

imprisonment, a fme of $250,000.00, special assessments pursuant to 18 U.S.C. § 3013, and up

to a lifetime of supervised release. The defendant understands that this supervised release term is

in addition to any prison term the defendant may receive, and that a violation of a term of
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